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 7
                                     UNITED STATES DISTRICT COURT
 8                                  WESTERN DISTRICT OF WASHINGTON
                                              AT SEATTLE
 9
      UNITED STATES OF AMERICA,
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                             Plaintiff,
11                                                                 CASE NO. CR02-423C
             v.
12                                                                 ORDER
      KEITH E. ANDERSON, et al.,
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                             Defendants.
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            This matter comes before the Court on Defendant Richard Marks’ Motion to Dismiss (Dkt. No.
16
     1028) and Motion for Identity and Status Hearing Prior to Sentencing (Dkt. No. 1029).
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            In his Motion to Dismiss, Defendant argues that this case should be dismissed because the
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     Probation Officer did not file the Presentence Report (“PSR”) for Defendant 35 days prior to his April
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     22, 2005 sentencing date, as required by Fed. R. Crim. P. 32(e)(2). Rather, the Probation Officer filed
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     the PSR on March 25, 2005, 28 days prior to the sentencing date.
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            Pursuant to Fed. R. Crim. P. 32(b)(2) and a General Order dated July 1, 1993, the United States
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     District Court for the Western District of Washington changed the deadline for the submission of a PSR
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     from 35 days to 28 days prior to the sentencing date. Thus, the Probation Officer’s submission of
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     Defendant’s PSR was timely, and the Court hereby DENIES Defendant’s motion.
25

26   ORDER – 1
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 1          Additionally, the Court finds that Defendant’s Motion for Identity and Status Hearing Prior to

 2   Sentencing is without merit and hereby DENIES the motion.

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 4          SO ORDERED this 13th         day of April, 2005.




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 7                                                       UNITED STATES DISTRICT JUDGE

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26   ORDER – 2
